Case 2:21-cv-02772-GAM Document1 Filed 06/22/21 Page 1 of 15

JS 44 (Rev. 10/20)

purpose of initiating the civil docket sheet.

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

I. (a) PLAINTIFFS

Sansom Street Partners, LLC and Sams Oyster House,

LLC

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

James C. Haggerty, Esquire, Haggerty Goldberg
Schleifer & Kupersmith, PC, 1835 Market Street, 27th

Amann IRA ARR AAA

Philadelphia, PA

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

DEFENDANTS

NOTE:

Attorneys (// Known)

 

anand

County of Residence of First Listed Defendant

Harleysville Worcester Insurance Company, et al

Franklin County, OH

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

William T. Salzer, Esquire, Swartz Campbell LLC, One
Liberty Place, 38th Floor, 1650 Market St., Phila., PA

 

Il. BASIS OF JURI
C1

U.S. Government
Plaintiff

U.S. Government
Defendant

IV.

SDICTION (Place an “X”" in One Box Only)

CJ 3. Federal Question
(U.S. Government Not a Party)

[*]4 Diversity

(ndicate Citizenship of Parties in [tem lil)

 

NATURE OF SUIT (Place an “X” in One Box Only)

(For Diversity Cases Only)

PTF

(i

Citizen of This State

Citizen of Another State

Citizen or Subject of a
Foreign Country

(2
(3

Tl. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)
PTF

[x] 4

DEF

Cj 1

DEF
Incorporated or Principal Place Cj4
of Business In This State
CJ 2 Incorporated and Principal Place
of Business In Another State

LC] 5

[x]5
[J 3

Click here for: Nature of Sui

Foreign Nation

 

 

| CONTRACT

TORTS

FORFEITURE/PENALTY

 

OTHER STATUT

 

 

110 Insurance

120 Marine

130 Miller Act

140 Negotiable Instrument

[Jl 150 Recovery of Overpayment
& Enforcement of Judgment

15] Medicare Act

152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

H

CL] 153 Recovery of Overpayment

of Veteran's Benefits
[] 160 Stockholders’ Suits
[| 190 Other Contract

196 Franchise

195 Contract Product Liability

PERSONAL INJURY PERSONAL INJURY
310 Airplane [_] 365 Personal Injury -
315 Airplane Product Product Liability

Liability (_] 367 Health Care/
320 Assault, Libel & Pharmaceutical
Slander Personal Injury
330 Federal Employers* Product Liability
Liability [] 368 Asbestos Personal

340 Marine

345 Marine Product
Liability
350 Motor Vehicle

} 355 Motor Vehicle
Product Liability

| | 360 Other Personal
Injury

362 Personal Injury -
Medical Malpractice

Injury Product
Liability

370 Other Fraud
371 Truth in Lending
[_] 380 Other Personal
Property Damage
C 385 Property Damage
Product Liability

 

PERSONAL PROPERTY

| 625 Drug Related Seizure
of Property 21 USC 881

422 Appeal 28 USC 158
423 Withdrawal

375 False Claims Act

BANKRUPTCY
4 376 Qui Tam (31 USC

 

 

 

 

Leave Act
790 Other Labor Litigation

 

230 Rent Lease & Ejectmen
240 Torts to Land

: 245 Tort Product Liability

L] 290 All Other Real Property

 

REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS
210 Land Condemnation 440 Other Civil Rights Habeas Corpus:
220 Foreclosure 441 Voting 463 Alien Detainee

4 510 Motions to Vacate
Sentence

|_| 530 General

|] 535 Death Penalty

Other:

540 Mandamus & Other

§50 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

tL 442 Employment

443 Housing/

Accommodations

|_| 445 Amer. w/Disabilities -
Employment
|] 446 Amer. w/Disabilities -
Other
|] 448 Education

 

 

| ]791 Employee Retirement
Income Security Act

 

| _]690 Other 28 USC 157 3729(a))
| 400 State Reapportionment
PROPERTY RIGHTS 410 Antitrust
820 Copyrights 430 Banks and Banking
830 Patent 450 Commerce
835 Patent - Abbreviated 460 Deportation
New Drug Application 470 Racketeer Influenced and
840 Trademark Corrupt Organizations
LABOR ] 880 Defend Trade Secrets a 480 Consumer Credit
710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
Act 485 Telephone Consumer
|_|720 Labor/Management __ SOCIAL SECURITY | Protection Act
Relations 861 HEA (1395ff) 490 Cable/Sat TV
740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
751 Family and Medical 863 DIWC/DIWW (405(g)) |_ Exchange

864 SSID Title XVI
|] 865 RSI (405(g))

890 Other Statutory Actions
|_| 891 Agricultural Acts

|_| 893 Environmental Matters
895 Freedom of Information

I

 

 

FEDERAL TAX SUITS

 

[_] 870 Taxes (U.S. Plaintiff
or Defendant)
[_] 871 IRS—Third Party

Act
896 Arbitration
899 Administrative Procedure

 

IMMIGRATION

26 USC 7609 Act/Review or Appeal of

 

462 Naturalization Application
465 Other Immigration
Actions

 

Agency Decision
|] 950 Constitutionality of
State Statutes

 

 

 

V. ORIGIN (Place an
| Original [x]?
Proceeding

VI. CAUSE OF ACTION

VIL REQUESTED IN

COMPLAINT:

“Xin One Box Only)

Removed from 3
State Court

Remanded from
Appellate Court

28 U.S.C. § 1446(b) - C \4

Brief description re
insurance coverage /(LUT|

(] CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

 

VU. RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

C4 Reinstated or oO 5 Transferred from Cl 6
Another District

(specify)

Cite the U.S. Civil ae 36 w on ou are filing (Do not cite jurisdictional statutes unless diversity):

Reopened

DEMAND $

Multidistrict
Litigation -
Transfer

| § Multidistrict
Litigation -
Direct File

CHECK YES only if demanded in complaint:
JURY DEMAND: — []yes [No

DOCKET NUMBER

 

 

DATE
June 4%, 2021
FOR OFFICE USE ONLY

RECEIPT #

SIGNATURE OF i

Tea?

AMOUNT APPLYING IFP

 

JUDGE

MAG. JUDGE
Case 2:21-cVv-02772-GAM Document 1. Filed 06/22/21 Page 2 of 15

J& 44 Reverse (Rev. 10/20)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of thé Clerk of Court for the purpose of initiating the civil docket sheet, Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

La)

{b}

(c)

IL,

TIL.

IV.

Vi.

VIL.

Plaintiffs-Defendants, Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name.or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
the official, giving both name and title.

County of Residence, For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing, In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing, (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(sce attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below,

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348, Suits by agencies and officers of the United States are included here,
United States defendant, (2) When the plaintiff is sulng the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S, is a party, the U.S, plaintiff or defendant code takes
precedence, and box | or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states, When Box 4 is checked, the
citizenship of the different parties must be checked, (See Section II below; NOTE: federal question actions take precedence over diversity
cases,}

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principat party.

Nature of Suit. Place an '"X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code

that is most applicable, Click here for: Nature of Suit Code Descriptions,

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441,
Remanded from Appellate Court, (3) Check this box for cases remanded fo the district court for further action. Use the date of remand as the filing
Reinstated or Reopened. (4) Check tlis box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District, (5) For cases transferred under Tithe 28 U.S.C, Section 1404{a). Do not use this for within district transfers or
multidisirict litigation transfers.

Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no fonger relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity, Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

Requested in Complaint, Class Action, Place an "X" in this box if you are filing a class action under Rule 23, F,.R.Cv.P.
Demand. in this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction,
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This scction of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket

numbers and the corresponding judge names for such cases,

Date and Attorney Signature, Date and sign the civil cover sheet.
Case 2:21-cv-02772-GAM Document1 Filed 06/22/21 Page 3 of 15

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM

(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment ta the appropriate calendar)

Address of Plaintiff: 1516 Sansom Street, Philadelphia, PA 19102

 

Gdldvecs of DeRndane One Nationwide Plaza, Columbus, OH 43215

 

Place of Accident, Incident or Transaction: 1516 Sansom Street, Philadelphia, PA 19102

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1, Is this case related to property included in an earlier numbered suit pending or within one year Yes [ | nol 4
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ | No [A
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ | No [7]
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ | No 4
case filed by the same individual?

I certify that, to my knowledge, the within case (is / ( is not related to any case n Av pending or within one year previously terminated action in

this court except as noted above. 4
1lost

 

 

 

 

 

DATE: 61 Y/4a4t
fat , Attorney-at-Law / PrafSe Plaintiff Attorney LD. # (if applicable)

CIVIL: (Place a V in one category only)
A, Federal Question Cases: B. Diversity Jurisdiction Cases:
| ] Indemnity Contract, Marine Contract, and All Other Contracts ] Insurance Contract and Other Contracts
(J 2. FELA [] 2. Airplane Personal Injury
LC] 3. Jones Act-Personal Injury L] 3. Assault, Defamation
LJ] 4. Antitrust LJ] 4. Marine Personal Injury

5, Patent [] 5. Motor Vehicle Personal Injury
= 6. Labor-Management Relations [J 6. Other Personal Injury (Please specify):
[] 7. Civil Rights [J] 7. Products Liability
[] 8. Habeas Corpus [] 8. Products Liability — Asbestos
(1 9. Securities Act(s) Cases LJ] 9. All other Diversity Cases
LJ 10. Social Security Review Cases (Please specify):
($11. All other Federal Question Cases

(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is te remove the case from eligibility for arbitration.)

— . \
7
l, Wow } ‘ Ma Tol , counsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[7 Relief other than monetary damages is sought.

ae ( fag|a 1 Mac. Ka 12 bs F

Attornev-at-Law / Pb Se Plaintiff Attorney LD. # (if applicable)

 

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ, 609 (5/2078)

 
Case 2:21-cv-02772-GAM Document1 Filed 06/22/21 Page 4 of 15

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Sansom Street Partners, LLC and : CIVIL ACTION
Sams Oyster House, LLC :

Vv.
Harleysville Worcester Insurance Company, et al NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. (_ )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(¢) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) )
(f) Standard Management — Cases that do not fall into any one of the other tracks. (xx)
l fel» L) Vi William T. Salzer
Date Attornéy-at-law Attorney for Defendants
215-299-4346 215-299-4301 : wsalzer@swartzcampbell.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:21-cv-02772-GAM Document1 Filed 06/22/21 Page 5 of 15

Civil Justice Expense and Delay Reduction Plan
Section 1:03 - Assignment to a Management Track

{a) The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

(b) Tn all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

(c) The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

(d) Nothing tn this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

(e) Nothing in this Plan is intended to supersede Local Civil Rules 40,1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.02 (e} Management Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3} complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition, It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See $0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
Case 2:21-cv-02772-GAM Document1 Filed 06/22/21 Page 6 of 15

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

SANSOM STREET PARTNERS, LLC
AND SAMS OYSTER HOUSE, LLC

Plaintiffs,
Vs.

HARLEYSVILLE WORCESTER
INSURANCE COMPANY;
HARLEYSVILLE PREFERRED
INSURANCE COMPANY; NATIONWIDE
MUTUAL INSURANCE COMPANY;
AND NATIONWIDE PROPERTY &
CASUALTY INSURANCE COMPANY

Defendants.

 

 

CIVIL ACTION

NO.

NOTICE OF REMOVAL

TO: The Honorable J udges of the United States District Court
for the Eastern District of Pennsylvania

Defendants, Harleysville Worcester Insurance Company,
Preferred Insurance Company, Nationwide Mutual. Insurance Company, and
Nationwide Property & Casualty Insurance Company, by and through their counsel,
- Swartz Campbell LLC, hereby file this Notice of Removal of the above-captioned
matter from the Court of Common Pleas of Philadelphia County, Pennsylvania, in

which it is now pending, to the United States District Court for the Eastern District

of Pennsylvania, and in support thereof, aver as follows:

Harleysville
Case 2:21-cv-02772-GAM Document1 Filed 06/22/21 Page 7 of 15

1. This action was commenced by the filing of a Praecipe for Writ of
Summons in the Court of Common Pleas of Philadelphia County, Pennsylvania, at
March Term 2021, No. 001516, C.A., on March 16, 2021.

2. | Plaintiffs, Sansom Street Partners, LLC (“Sansom Street Partners”) and
Sams Oyster House, LLC (“Sams Oyster House”) filed a Complaint on June 4, 2021.

3. Copies of all process, pleadings, and orders, which have been received
by Defendants are attached hereto as Exhibit “A”.

A, At all times relevant to this action, Plaintiffs are limited liability
companies organized and existing under the laws of the Commonwealth of
Pennsylvania with their principal places of business located at 1516 Sansom Street,
Philadelphia, PA 19102-2811. Complaint, 4/1.

| 5. Plaintiff incorrectly designated Harleysville Worcester Insurance
Company (“Harleysville Worcester”) and Harleysville Preferred Insurance Company
(“Harleysville Preferred”) as corporations organized and existing under the laws of
the Commonwealth of Pennsylvania with their principal place of business at 355
Maple Avenue, Harleysville, PA 19438. Complaint, 43.

6. At all times relevant to this action, Harleysville Worcester was a
corporation, re-domesticated in the State of Ohio, with its principal place of business
located at One Nationwide Plaza, Columbus, OH 43215-2220.

7. At all times relevant to this action, Harleysville Preferred was a

corporation, re-domesticated in the State of Ohio, and authorized to conduct business
Case 2:21-cv-02772-GAM Document1 Filed 06/22/21 Page 8 of 15

in the Commonwealth of Pennsylvania, with its principal place of business located at
One Nationwide Plaza, Columbus, OH 43215-2220.

8. At all times relevant to this action, Nationwide Mutual Insurance
Company (“Nationwide Mutual’) was an Ohio corporation authorized to conduct
business in the Commonwealth of Pennsylvania with its principal place of business
located at One Nationwide Plaza, Columbus, OH 48215-2220. Complaint, 4.
Nationwide Mutual did not issue any policies of insurance to Plaintiffs; therefore, it
is not contractually obligated to pay any benefits to Plaintiffs and is incorrectly joined
as a defendant.

9. At all times relevant to this action, Nationwide Property & Casualty
Insurance Company (Nationwide Property & Casualty”) was an Ohio corporation
authorized to conduct business in the Commonwealth of Pennsylvania with its
principal place of business located at One Nationwide Plaza, Columbus, OH 43215-
2220, Complaint, |4. Nationwide Property & Casualty did not issue any policies of
insurance to Plaintiffs; therefore, it is not contractually obligated to pay any benefits
to Plaintiffs and is incorrectly joined as a defendant.

| 10. Harleysville Worcester and Harleysville Preferred are deemed to he
citizens of Ohio, where they have been re-domesticated and have their principal
places of business.

11. Nationwide Mutual and Nationwide Property & Casualty are deemed to
be citizens of Ohio, where they have been incorporated and have their principal places

of business.
Case 2:21-cv-02772-GAM Document1 Filed 06/22/21 Page 9 of 15

12. Upon reasonable investigation and information and belief, Samuel Fink
and/or David Fink, who are members of Sansom Street Partners and Sams Oyster
House, are residents and citizens of the Commonwealth of Pennsylvania.

13. Plaintiffs were created and registered as Pennsylvania limited liability
companies and are deemed to be citizens of Pennsylvania, where they have been
incorporated, have their principal places of business, and their members are
domiciled.

14. Pursuant to 28 U.S.C, § 1441(a), “le]xcept as otherwise expressly
provided by Act of Congress, any civil action brought in a State court of which the
district courts of the United States have original jurisdiction, may be removed by the
defendant or the defendants, to the district court of the United States for the district
and division embracing the place where such action 18 pending.”

15. Defendants may remove this case to the United States District Court for
the Eastern District of Pennsylvania because it embraces the Court of Common Pleas
of Philadelphia County.

16. Pursuant to 28 U.S.C, § 1446(b), “[t]he notice of removal of a civil action
or proceeding shall be filed within 30 days after the receipt by the defendant, through
service or otherwise, of a copy of the initial pleading setting forth the claim for relief
upon which such action or proceeding is based....”

17. Defendants timely removed this matter within 30 days after service of

the Complaint.
Case 2:21-cv-02772-GAM Document1 Filed 06/22/21 Page 10 of 15

18. Pursuant to 28 U.S.C. § 1832(a)(1), “[t]he district courts shall have
original jurisdiction of all civil actions where the matter in controversy exceeds the
sum or value of $75,000.00, exclusive of interest and costs, and is between citizens of
different States.”

19. Plaintiffs allege that as a result of the impact of the COVID-19 pandemic
and Orders of the Governor of Pennsylvania, it has sustained a partial loss of use of
its premises and was forced to stop all seated and eat-in food services, thereby
incurring losses, damages and expenses. Complaint, 428.

20. Plaintiffs allege that the COVID-19 pandemic and the governmental
shutdown has directly and adversely affected their business operations by causing
damage to the properties and the risk of further harm to the properties and its
occupants. Complaint, 432.

21. Plaintiffs allege they have suffered a loss of business income and have
sustained damages which they aver are covered under the Business Income, Civil
Authority and other provisions of the policies of insurance. Complaint, 33; 35.

22. Plaintiffs allege they made a claim upon Defendants for recovery of
losses, damages and expenses caused by the pandemic and the government orders
and that Defendants wrongfully denied the claim entitling Plaintiff to recovery of
damages. Complaint, i 34-86; 42-43. | |

23. Plaintiffs aver they are entitled to a declaration that they are covered

under the Harleysville Policies for business income, extra expense, contamination,
Case 2:21-cv-02772-GAM Document1 Filed 06/22/21 Page 11 of 15

civil authority, and other coverages under the Harleysville Policies, for which
Nationwide Mutual and Nationwide Property & Casualty are liable. Complaint, 1135.

24. Plaintiffs aver that they are entitled to an Order enjoining Defendants
from denying coverage to Plaintiffs for the damages caused by the COVID-19
pandemic and referenced governmental orders. Complaint, (38.

25. Plaintiffs seek relief in the form of a declaration that they are entitled
to coverage for losses, damages and expenses caused by the COVID-19 pandemic and
the referenced governmental orders and other appropriate relief as the court deems
appropriate. Complaint, Ad Damnum clause (Count 1).

26. Plaintiffs’ claims, although denominated as seeking declaratory relief,
are in actuality demands for recovery of monies based on an alleged breach of the
insurance contracts; Plaintiffs specifically seek recovery of losses, damages, and
expenses allegedly covered under the insurance policies. Plaintiffs also allege
Defendants breached the insurance contracts by denying their claims.

27. Plaintiffs’ claims are not restricted to declaratory relief under the
Declaratory Judgment Act, but instead seeks coercive legal remedies in the nature of
monetary and affirmative injunctive relief.

28. As such, this court is vested with jurisdiction to adjudicate this dispute
because Plaintiffs seek recovery for past alleged monetary loss.

29, “When there are disputes over factual issues, the party alleging

jurisdiction [must] justify his allegations by a preponderance of the evidence.”
Case 2:21-cv-02772-GAM Document1 Filed 06/22/21 Page 12 of 15

Minissale v. State Farm Fire & Cas. Co., 988 F.Supp.2d 472 (E.D. Pa. 2013) (quoting
Samuel-Bassett v. KIA Motors America, Inc., 357 F.3d 392, 397 (8d Cir. 2004)).

30. The Policies confer Business Income Loss for actual loss sustained
subject to the Policies terms, provisions, limitations, conditions and exclusions. The
Policies confer Extra Expense coverage on an actual loss basis. The Policies confer
coverage for Business Income and Extra Expense caused by the action of civil
authority subject to the terms, provisions, limitations, exclusions and conditions of
the Policies.

31. Plaintiffs allege the COVID-19 pandemic and governmental shutdown
forced them to stop all seated and eat-in food services, causing Plaintiffs to sustain
covered losses for Business Income, Civil Authority and other related losses, damages
and expenses. Complaint, 128; 33. Plaintiffs do not limit the period of time for which
they sock recovery of Business Income or Extra Expense.

382. While the Plaintiffs do not quantify the amount of Business Income and
Extra Expense coverage which they assert entitlement to be paid under the Policies,
or the amount of damages and expenses they claim to have incurred, the coverages
afforded for Building Personal Property, Business Income, and Extra Expense exceed
$75,000.00.

33. Upon reasonable investigation and information and belief, the object of
Plaintiffs’ declaratory judgment concerns an amount in dispute which exceeds the

value of $75,000.00, exclusive of interest and costs.
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34. Therefore, it is believed, and therefore averred, that Plaintiffs each seek
declaratory and/or injunctive relief with respect to amounts which exceed the value
of $75,000.00 exclusive of interest and costs.

35. Accordingly, original jurisdiction exists in the United States District
Court for the Eastern District of Pennsylvania pursuant to 28 U.S.C.A. § 1441(a) and
28 U.S.C. § 1332(a)(1), because the amount in controversy exceeds the sum or value
of $75,000.00, exclusive of interest and costs, and is between citizens of different

states.

WHEREFORE, pursuant to 28 U.S.C.A. § 1441 et seq., Defendants,
Harleysville Worcester Insurance Company, Harleysville Preferred Insurance
Company, Nationwide Mutual Insurance Company, and Nationwide Property &
Casualty Insurance Company, remove this action to the United States District Court

for the Eastern District of Pennsylvania.

SWARTZ W/ LLC

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Nationwide Property & Casualty Insurance
Company

 

 

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IN THE UNITED STATES DISTRICT COURT —
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

SANSOM STREET PARTNERS, LLC
AND SAMS OYSTER HOUSE, LLC

Plaintiffs,
vs.

HARLEYSVILLE WORCESTER
INSURANCE COMPANY;
HARLEYSVILLE PREFERRED
INSURANCE COMPANY; NATIONWIDE
MUTUAL INSURANCE COMPANY;
AND NATIONWIDE PROPERTY &
CASUALTY INSURANCE COMPANY

Defendants.

 

 

CIVIL ACTION

NO.

CERTIFICATE OF SERVICE

William T. Salzer, hereby certifies that a true and correct copy of the attached

Notice of Removal was served upon all interested parties, listed below, either

electronically and/or by United States Mail, first class, postage prepaid on June 22,

2021.

James C. Haggerty, Esquire

Haggerty Goldberg Schleifer & Kupersmith, PC

1835 Market Street, 27th Floor
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Attorney for Plaintiffs
Case 2:21-cv-02772-GAM Document1 Filed 06/22/21 Page 15 of 15

SWARTZ CAMPBELL LLC

 

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Company

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